           2:20-cv-02083-SLD # 6               Page 1 of 1                                                              E-FILED
                                                                                      Friday, 03 April, 2020 12:53:55 PM
                                                                                           Clerk, U.S. District Court, ILCD



                                UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF ILLINOIS
                                             OFFICE OF THE CLERK
                                                TEL: 217.492.4020
                                                FAX: 217.492.4028

                                                    April 3, 2020

Champaign County Jail
Attn: Trust Fund Dept.
204 E. Main St.
Urbana, IL 61802
Re: D’Angelis Chambers
Case No.: 20-2083

Dear Trust Fund Department:

The Clerk of the Court recently received a complaint and a petition to proceed in forma pauperis
from Mr. D’Angelis Chambers. In order for the Court to determine whether he is entitled to
proceed in forma pauperis, the Court must review his trust fund ledgers for the six months
immediately preceding receipt of his complaint. Therefore, the Clerk of the Court respectfully
requests that you provide to the Court a copy of Mr. D’Angelis Chambers’ trust fund ledgers for
the period of O c t o b e r 3 , 2 0 1 9 through April 3, 2020, within fourteen days of the date of
this letter. Please mail or fax the trust fund ledgers to:

                   United States District Court
                   Central District of Illinois
                   131 E. 4 t h Street
                   Davenport, IA 52801
                   FAX: 309-793-5878

Please refer to the above referenced case number when submitting the trust fund ledgers. Thank
you.

                                                              Sincerely,
                                                              s/ Shig Yasunaga
                                                              Shig Yasunaga
                                                              Clerk, U.S. District Court

cc: Inmate


                                                                                        Rock Island Division
    Peoria Division              Urbana Division              Springfield Division
                                                                                       (Temporarily relocated for mail and
    100 N.E. Monroe St.          201 S. Vine St.              600 E. Monroe St.
    Room 305                                                                           hearings to):
                                 Room 218                     Room 151
    Peoria, IL 61602             Urbana, IL 61802             Springfield, IL 62701    131 E. 4th Street, Rm 250
    309.671.7117                 217.373.5830                 217.492.4020             Davenport, IA 52801 309.793.5778
